Case 1:16-cr-20461-JEM Document 110 Entered on FLSD Docket 08/05/2016 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 16-20461-CR-MARTINEZ(s)


  UNITED STATES OF AMERICA,

  vs.

  MILDREY DE LA CARIDAD GONZALEZ, et al.,

                 Defendants.
                                                           /

                         NOTICE OF LIS PENDENS RE: FORFEITURE

  GRANTEE: Venecia V. Hernandez (single woman)

  TO:    ALL PERSONS WHO MAY CLAIM BY, THROUGH, OR UNDER ANY OF THE
         DEFENDANT(S) AND/OR GRANTEE(S) any interest in the real property described
         herein.

         NOTICE IS HEREBY GIVEN, pursuant to the provisions of F.S. § 48.23, as made

  applicable hereto by the provisions of 28 U.S.C. § 1964, that, on July 19, 2016, the United States

  of America filed a superseding indictment in the United States District Court for the Southern

  District of Florida in the foregoing action.

         Pursuant to 18 U.S.C. §§ 982 and 981, the United States of America is seeking to forfeit

  the real property including all buildings, improvements, fixtures, attachments and easements found

  therein or thereon, which is more particularly described as:

                 The West 90.30 Feet of the East 1203.90 feet of tract 15, of J.G. HEAD’S
                 FARMS, in Section14, Township 54 South, Range 39 east, according to
                 the Plat thereof as recorded in Plat Book 46, at Page 44, of the Public
                 Records of Miami-Dade County, Florida. Less the North 25.00 Feet for
                 Right of Way Dedication.

                 F/k/a Folio # 30-4914-002-0370 as per Warranty Deed Dated November


                                                  1
Case 1:16-cr-20461-JEM Document 110 Entered on FLSD Docket 08/05/2016 Page 2 of 2



                  16, 2000 IN ORB 19376 PG 1868.

                  The West 180.60 feet of the East 1294.20 feet of Tract 15, of J.G.
                  HEAD’S FARMS, in Section 14, Township 54 SOUTH, RANGE 39
                  East, according to the Plat thereof as recorded in Plat Book 46, at Page
                  44, of the Public Records of Miami-Dade County, Florida, LESS THE
                  NORTH 25.00 FEET FOR RIGHT OF WAY DEDICATION.

                  Folio # 30-4914-002-0371.

          The record/title owner of the defendant realty is Venecia V. Hernandez, by virtue of a Quit-

  Claim Deed, recorded in the public records of Miami-Dade County, Florida, in Official Records

  Book 29962, Page 373, on February 12, 2016.

          Title 21, United States Code, Section 853(k) states no party claiming an interest in property

  subject to forfeiture may commence an action at law or equity against the United States concerning

  the validity of their interest after the filing of an indictment.

          Further information concerning this action may be obtained from the records of the Clerk

  of Court for the United States District Court at Miami, Florida.

                                                  Respectfully submitted,

                                                  WIFREDO A. FERRER
                                                  UNITED STATES ATTORNEY

                                          BY:     /s/ Evelyn B. Sheehan
                                                  Evelyn B. Sheehan (Fla. Bar No. 944351)
                                                  Assistant United States Attorneys
                                                  99 NE 4th Street
                                                  Miami, FL 33132-2111
                                                  Tel. (305) 961-9125
                                                  Fax. (305) 536-7599
                                                  Evelyn.Sheehan@usdoj.gov

  This instrument was
  prepared by:
  EVELYN B. SHEEHAN
  ASSISTANT U.S. ATTORNEY


                                                      2
